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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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P.F. ,                                                                24-CV-02333 (PMH)

                                   Petitioner,                        NOTICE OF MOTION

                  – against –

Y.F.,
                                    Respondent,
-----------------------------------------------------------x

                   ORDERED, that the above named defendant show cause before a motion term

 of this Court, at Room          , United States Courthouse, 300 Quarropas Street, White Plains,

 New York 10601, on                                , at        o'clock in the ____noon thereof, or as

 soon thereafter as counsel may be heard, why an order of default should not be issued pursuant

 to Rule 55 of the Federal Rules of Civil Procedure Ordering:

        1.       That pursuant to Federal Rules of Civil Procedure 4(e), alternative service by email

or publication should be granted against the Respondent.

        2.       Extending time to serve the Respondent for 60 days.

        3.       For such other and further relief as the Court may find just and proper.

                                                                      _________________________
Dated: December 20, 2024                                              Menachem White, Esq.
       Woodmere, New York                                             The White Law Group
                                                                      Attorney for Defendant
                                                                      4 Brower Avenue, Suite 3
                                                                      Woodmere, New York 11598
